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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


 ACADIA PHARMACEUTICALS INC.,                   )
                                                )
                               Plaintiff,       )
                                                )
                          v.                      C.A. No. 20-cv-985 RGA
                                                )
 AUROBINDO PHARMA LIMITED, et al.,              ) CONSOLIDATED
                                                )
                               Defendants.      )


               STIPULATION AND [PROPOSED] ORDER REGARDING
                      AUTHENTICITY OF ANDA NO. 214782

       WHEREAS, Defendants Aurobindo Pharma Limited and Aurobindo Pharma USA, Inc.

(collectively, “Aurobindo”) hereby stipulate to the authenticity of the documents listed below,

comprising Abbreviated New Drug Application (“ANDA”) No. 214782, correspondences to/from

the FDA concerning ANDA No. 214782, and additional documents included in Aurobindo’s

productions to ACADIA, pursuant to Fed. R. Evidence 901, and that such documents are not

excluded as hearsay pursuant to Fed. R. Evidence 803(6);

          •   AURO_PIMAV00000001 - AURO_PIMAV00015853
          •   AURO_PIMAV00109596
          •   AURO_PIMAV00098534
          •   AURO_PIMAV00098535
          •   AURO_PIMAV00098566 - AURO_PIMAV00098568
          •   AURO_PIMAV00098569
          •   AURO_PIMAV00117233 - AURO_PIMAV00117236
          •   AURO_PIMAV00087841
          •   AURO_PIMAV00087842
          •   AURO_PIMAV00087843
          •   AURO_PIMAV00087850
          •   AURO_PIMAV00087851
          •   AURO_PIMAV00087852
          •   AURO_PIMAV00107570 - AURO_PIMAV00107579
          •   AURO_PIMAV00087855 - AURO_PIMAV00087879
          •   AURO_PIMAV00098494
          •   AURO_PIMAV00098495
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           •    AURO_PIMAV00110813 - AURO_PIMAV00110816
           •    AURO_PIMAV00098954
           •    AURO_PIMAV00098955
           •    AURO_PIMAV00098959
           •    AURO_PIMAV00098960
           •    AURO_PIMAV00098961
           •    AURO_PIMAV00098962
           •    AURO_PIMAV00098963
           •    AURO_PIMAV00098964
           •    AURO_PIMAV00099030
           •    AURO_PIMAV00099031
           •    AURO_PIMAV00099032
           •    AURO_PIMAV00099034
           •    AURO_PIMAV00099041
           •    AURO_PIMAV00099042
           •    AURO_PIMAV00108487 - AURO_PIMAV00108488
           •    AURO_PIMAV00108489
           •    AURO_PIMAV00108599 - AURO_PIMAV00108600
           •    AURO_PIMAV00108601
           •    AURO_PIMAV00108658
           •    AURO_PIMAV00108659
           •    AURO_PIMAV00109720 - AURO_PIMAV00109722
           •    AURO_PIMAV00109723
           •    AURO_PIMAV00109789 - AURO_PIMAV00109790
           •    AURO_PIMAV00109791
           •    AURO_PIMAV00099039
           •    AURO_PIMAV00099040
           •    AURO_PIMAV00103062 - AURO_PIMAV00103063
           •    AURO_PIMAV00098680
           •    AURO_PIMAV00098681
           •    AURO_PIMAV00098682
           •    AURO_PIMAV00075247 - AURO_PIMAV00075250

       WHEREAS, Plaintiff ACADIA Pharmaceuticals Inc. (“ACADIA”) agrees that Rule

30(b)(6) depositions of Aurobindo’s witnesses are no longer necessary in light of the above

stipulations;

       IT IS HEREBY STIPULATED AND AGREED, subject to the approval and order of the

Court, that the documents comprising Aurobindo’s ANDA 214782, correspondences to/from the

FDA concerning ANDA No. 214782, and additional documents included in Aurobindo’s

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productions to ACADIA, as listed above, are authenticated pursuant to Fed. R. Evidence 901 and

are not excluded as hearsay pursuant to Fed. R. Evidence 803(6), and that the Rule 30(b)(6)

depositions previously requested by ACADIA will no longer be necessary.


 June 24, 2022


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